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                                 No. 6:20-cr-00097-5

                              United States of America
                                         v.
                                 Shy Anne Rogers


                                       ORDER

                 This criminal action was referred to United States Magis-
             trate Judge John D. Love for administration of a guilty plea
             under Federal Rule of Criminal Procedure 11. The magistrate
             judge conducted a hearing in the form and manner prescribed
             by Rule 11 and issued findings of fact and recommendation
             on guilty plea. Doc. 162. The magistrate judge recommended
             that the court accept defendant’s guilty plea and adjudge de-
             fendant guilty on count one of the indictment. Id. Defendant
             waived his right to object to the magistrate judge’s findings.
             Id.
                The court hereby accepts the findings of fact and recom-
             mendation on guilty plea of the United States Magistrate
             Judge. Doc. 162. The court also accepts defendant’s plea but
             defers acceptance of the plea agreement until after review of
             the presentence report.
                In accordance with defendant’s guilty plea, the court finds
             defendant Shy Anne Rogers guilty of count one of the indict-
             ment, charging a violation of 21 U.S.C. § 846 – Conspiracy to
             Possess with the Intent to Distribute and Distribution of a
             Controlled Substance (Methamphetamine).
                                  So ordered by the court on March 25, 2021.



                                               J. C AMPBELL B ARK ER
                                             United States District Judge
